ACTION of replevin of goods distrained for rent, and the issue was on an avowry simply. The lease among other reservations of rent contained the following: "also the one-third part of the net proceeds of the dairy according to the number of cows on the farm by reports to be made once a month, and the share of the dairy produce as often paid to the said Barney Reybold," and as to the construction of which the court was asked to instruct the jury.
The Court,
charged the jury, That as to the butter made and prepared for market in the dairy on the farm by the lessee, and estimated by the witnesses at an average cost of six cents per pound, and claimed to be deducted from the market price or value of it and retained by him, the tenant, therefore, could not be allowed to him by the jury under a proper construction of the terms and meaning of the lease in regard to that matter, but any expense necessarily incurred by him in transporting the butter to market and disposing of it there should be allowed him.